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15                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
16

17 CHRISTINE WHALEN, et al.,
                                                    CASE NO. 3:23-CV-459-VC
18                Plaintiffs,
19         v.                                       NOTICE OF MOTION AND MOTION OF
20                                                  DEFENDANT ALBERTSONS COMPANIES,
   THE KROGER CO., ALBERTSONS                       INC. TO DISMSS; MEMORANDUM OF
21 COMPANIES, INC., AND CERBERUS                    POINTS AND AUTHORITIES IN SUPPORT
   CAPITAL MANAGEMENT, L.P.,
22
             Defendants.
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                                                                     Case No. 3:23-CV-459-VC
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 1                       NOTICE OF MOTION AND MOTION TO DISMISS

 2 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE THAT on May 18, 2023, at 10:00 AM, or as soon thereafter as

 4 the matter may be heard, in the courtroom of the Honorable Vince Chhabria, located at 450

 5 Golden Gate Avenue, San Francisco, CA 94102, 17th Floor, Courtroom 4, Defendant Albertsons

 6 Companies, Inc. (“Albertsons”) will and hereby does respectfully move for an order dismissing

 7 Plaintiffs’ Complaint pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6) on the

 8 grounds that Plaintiffs lack standing, their claims are moot and/or not ripe, and they fail to state a

 9 claim upon which relief may be granted.

10          This motion is based on this notice of motion and motion; the memorandum of points and

11 authorities contained herein; Albertsons’ Notice of Joinder in The Kroger Co.’s Motion to

12 Dismiss; the Declaration of Edward D. Hassi and Exhibits attached thereto; Albertsons’ Request

13 for Judicial Notice; any reply papers that Albertsons may file; upon all pleadings, records, and

14 papers on file in this action; and upon such further arguments as may be presented to the Court at

15 or prior to the hearing on the motion.

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2          Defendant Albertsons Companies, Inc. (“Albertsons” or “the Company”) joins in full The

 3 Kroger Co’s (“Kroger”) Motion to Dismiss Plaintiffs’ Complaint as to Count I, Plaintiffs’ Clayton

 4 Act Section 7 claim regarding the proposed merger between Kroger and Albertsons. Albertsons

 5 writes separately to address Count II, Plaintiffs’ claim challenging Albertsons’ payment of a

 6 special dividend under Section 1 of the Sherman Act, 15 U.S.C. § 1.

 7                                  PRELIMINARY STATEMENT

 8          Plaintiffs’ claim challenging Albertsons’ independent decision to pay a special dividend to
 9 its shareholders and seeking to enjoin its payment should be dismissed with prejudice.

10          First, Plaintiffs’ claim for injunctive relief is moot because Albertsons already paid the
11 special dividend on January 20, 2023, nearly two weeks before Plaintiffs filed this lawsuit. As the

12 U.S. Court of Appeals for the District of Columbia has recognized, Albertsons’ payment of the

13 special dividend moots claims for injunctive relief blocking payment of that dividend. Given the

14 only relief sought by Plaintiffs as to Albertsons on Count II is injunctive, dismissal on mootness

15 grounds is required.

16          Second, Plaintiffs do not (and cannot) plausibly allege that payment of the special dividend
17 was the product of an unlawful agreement or that it had, has, or will have any anticompetitive

18 effect. Indeed, Albertsons’ payment of the special dividend followed extensive review by four

19 separate courts in two separate lawsuits brought by four state attorneys general raising federal and
20 state antitrust claims substantially similar to those alleged by Plaintiffs. Those courts carefully

21 considered a fulsome evidentiary record and repeatedly rejected claims seeking to enjoin

22 Albertsons’ payment of the special dividend, concluding the allegations and evidence before them

23 did not show any unlawful agreement between Albertsons and Kroger or that payment of the

24 special dividend would harm Albertsons or competition more broadly.              Plaintiffs make no
25 plausible allegations here that support a different outcome, nor could they. Indeed, contrary to

26 Plaintiffs’ allegations that paying the special dividend would competitively harm Albertsons, since

27 paying the special dividend, Albertsons continues to generate record earnings and effectively

28 compete in the highly competitive markets it serves.

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 1          In short, Count II as to Albertsons is moot and does not state a plausible claim for relief

 2 under Section 1 of the Sherman Act. Plaintiffs cannot address the fundamental flaws that are fatal

 3 to Count II through amendment, and Count II should be dismissed with prejudice. See, e.g.,

 4 Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041 (9th Cir. 2011) (dismissal with

 5 prejudice appropriate where “amendment would be futile”).

 6                         FACTUAL AND PROCEDURAL BACKGROUND

 7          A.      Albertsons’ Successful Business Operations Have Generated Billions of
                    Dollars of Excess Capital that It Distributed to Its Shareholders.
 8

 9          Albertsons is a thriving company. Compl. ¶ 73. In fiscal year 2021, Albertsons generated
                                                                       1
10 $71.9 billion in revenue and nearly $4.4 billion of Adjusted EBITDA. Compl. ¶ 40; Ex. A at 44-
                                   2
11 45, 47 (ACI Apr. 26, 2022 10-K). Albertsons’ strong financial performance has continued into

12 fiscal year 2022, which ended on February 25, 2023, with record Adjusted EBITDA of over $4.67
           3
13 billion. Ex. B at 1, 10 (ACI Apr. 11, 2023 8-K).

14          Beginning in November 2021, and as publicly announced in February 2022, Albertsons’

15 Board of Directors engaged in a broad-ranging strategic review process. Ex. A at 16; Ex. C at 20

16 (ACI Jan. 24, 2023 Sched. 14C Info. Statement). During that process, Albertsons considered ways

17 to return to its shareholders excess capital accumulated due to its strong financial performance,

18 including through the payment of a special dividend. Ex. C at 23-24.

19          B.      Albertsons and Kroger Did Not Agree to Issue the Special Dividend.

20          In April 2022, during Albertsons’ ongoing strategic review, Kroger approached Albertsons

21 about a potential merger. See Ex. C at 24. Following several months of negotiations, Albertsons
     1
22     “EBITDA” refers to earnings before interest, taxes, depreciation, and amortization.
     2
        In considering a motion to dismiss, the Court may consider may take judicial notice of and
23   consider undisputed facts that are part of the public record, including Albertsons’ public SEC
     filings and documents that have been publicly filed in both state and federal court. See, e.g., Tan
24
     v. GrubHub, Inc., 171 F. Supp. 3d 998, 1003 n.2, 1016 (N.D. Cal. 2016) (taking judicial notice of
25   public filings in a separate state litigation); Dreiling v. Am. Express Co., 458 F.3d 942, 946 n.2
     (9th Cir. 2006) (noting that a court may take judicial notice of SEC filings). Albertsons has
26   concurrently filed a request for judicial notice. Citations to “Ex.” refer to the documents appended
     to the Declaration of Edward D. Hassi in Support of Albertsons’ Motion to Dismiss filed herewith.
27   3
       In other words, Albertsons’ payment of the special dividend occurred during its best ever annual
     financial performance.
28

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 1 and Kroger agreed to merge pursuant to a Merger Agreement dated October 13, 2022 (the

 2 “Merger”). Compl. ¶ 82; Ex. D (ACI Oct. 14, 2022 8-K) at Exhibit 2.1.4 The Merger Agreement

 3 contemplates that Albertsons could choose to pay a pre-closing dividend at its sole discretion, and

 4 provides for a dollar-for-dollar reduction of the per-share merger consideration Kroger will pay in

 5 an amount equal to the value of any capital Albertsons elected to return to its shareholders through

 6 payment of such a dividend. Ex. D at Exhibit 2.1, § 6.1(c). Critically, the Merger Agreement

 7 neither required nor conditioned the Merger on the payment of such a dividend. Ex. D at Exhibit

 8 2.1, §§ 7.1-7.3.

 9          On October 13, 2022, Albertsons’ Board of Directors separately approved and declared a

10 special dividend (the “Special Dividend”) in the amount of $6.85 per share, totaling approximately

11 $4 billion to be paid on November 7, 2022, to shareholders of record as of October 24, 2022.

12 Compl. ¶¶ 4, 38; Ex. C at 18, 36.

13          C.       Multiple Courts Rejected Similar Efforts by State AGs to Enjoin the Special
                     Dividend Payment.
14
            In early November 2022, the Attorneys General for California, Illinois, and the District of
15
     Columbia (collectively, the “D.C. Plaintiffs”) and for Washington (with the D.C. Plaintiffs, the
16
     “State AGs”) sued Albertsons and Kroger under federal and/or state antitrust laws seeking to
17
     enjoin payment of the Special Dividend. See Ex. E (D.C. Complaint filed Nov. 2, 2022); Ex. F
18
     (Wa. Complaint filed Nov. 1, 2022). In connection with those lawsuits, multiple courts—both
19
     state and federal, and trial and appellate—repeatedly rejected the State AGs’ attempts to enjoin
20
     payment of the Special Dividend:
21
                    On November 8, 2022, the U.S. District Court for the District of Columbia denied
22
                     the D.C. Plaintiffs’ request for a temporary restraining order (“TRO”), concluding
23
     4
     The Court may consider the Merger Agreement, which was attached as Exhibit 2.1 to
24
   Albertsons’ October 14, 2022 8-K, Ex. D, because it is referenced in and integral to the
25 Complaint. See Compl. ¶¶ 37, 82; see Coto Settlement v. Eisenberg, 593 F.3d 1031, 1038 (9th Cir.
   2010) (“On a motion to dismiss, we may consider materials incorporated into the complaint or
26 matters of public record.”); United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003) (noting that
   a document is “incorporated by reference into a complaint if the plaintiff refers extensively to the
27 document or the document forms the basis of plaintiff’s claim”). Further, the Court may take
   judicial notice of the Merger Agreement. See supra note 2.
28

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 1             they had not demonstrated a likelihood of success given there was “no evidence of
               an agreement between Albertsons and Kroger to pay the [Special Dividend],” and
 2             that, instead, the evidence showed the Special Dividend was consistent with “an
               independent decision by Albertsons to return value to its shareholders.” Ex. G at
 3
               65-74 (Tr. of Nov. 8, 2022 Hearing). It also determined that there was “insufficient
 4             evidence that Albertsons will not be able to effectively compete, or that [payment
               of the Special Dividend] will otherwise restrain trade,” citing Albertsons’ strong
 5             revenues and excess cash flow and significant sources of liquidity. Id. at 70-71.
 6            On December 12, 2022, the same court denied the D.C. Plaintiffs’ request for a
 7             preliminary injunction, again finding that they failed to show a likelihood of
               success on the merits. District of Columbia v. The Kroger Co., No. 1:22-cv-03357
 8             (CJN), 2022 WL 18911128 (D.D.C. Dec. 12, 2023). Two days later, the court
               denied the D.C. Plaintiffs’ request for an injunction pending appeal, stating the
 9             “claims have substantial weaknesses” and that the D.C. Plaintiffs had failed to
               show “harm to competition or consumers is likely.” District of Columbia v. The
10             Kroger Co., No. 1:22-cv-03357 (CJN), 2022 WL 18910855 (D.D.C. Dec. 14,
11             2023).

12            On December 20, 2022, the U.S. Court of Appeals for the District of Columbia
               denied the D.C. Plaintiffs’ motion for an injunction pending appeal and an
13             administrative stay because the D.C. Plaintiffs had “not satisfied the requirements
               for an injunction pending appeal.” Ex. H (D.C. Cir. 12/20/22 Order Denying
14
               Injunction Pending Appeal).
15
              Washington initially obtained a TRO enjoining payment of the Special Dividend.
16             However, on December 9, 2022, the Washington Superior Court denied
               Washington’s motion for a preliminary injunction after a full-day evidentiary
17             hearing which included over five hours of testimony from three witnesses: Gary
               Millerchip, Kroger’s CFO; Sharon McCollam, Albertsons’ President and CFO; and
18
               Professor David Smith, a corporate finance expert. The court concluded that
19             Washington failed to show either an agreement between Kroger and Albertsons to
               issue the Special Dividend or that payment of the Special Dividend would harm
20             Albertsons’ ability to compete.        Ex. I (Wa. Super. Ct. 12/9/22 Order).
               Nevertheless, the court extended the TRO to allow the State of Washington the
21             opportunity to seek appellate review. Id.
22
              On December 16, 2022, a Washington Supreme Court Commissioner extended the
23             TRO until further order of the court, but noted Washington did “not make a
               compelling case” that it would prevail on its claims. Ex. J (Wa. Supreme Ct.
24             12/16/22 Order). On January 17, 2023, the Washington Supreme Court denied
               review of the trial court’s decision and terminated the TRO. Ex. K (Wa. Supreme
25             Ct. 1/17/23 Order).
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 1           D.     Albertsons Issues the Special Dividend and the State AGs Voluntarily Dismiss
                    Their Claims.
 2
             With the Washington TRO lifted, on January 20, 2023, Albertsons paid its shareholders of
 3
     record as of the close of business on October 24, 2022 the Special Dividend. Ex. B at 3.
 4
     Washington filed a motion to voluntarily dismiss its claims, which was granted on February 1,
 5
     2023. Ex. L (Wa. 2/1/23 Order of Dismissal). And, after the Court of Appeals for the District of
 6
     Columbia dismissed the D.C. Plaintiffs’ appeal of the denial of their motion for preliminary
 7
     injunction as moot, District of Columbia v. Kroger Co., No. 22-7168, 2023 WL 2356015, at *1
 8
     (D.C. Cir. Feb. 23, 2023), the D.C. Plaintiffs voluntarily dismissed their claims on February 24,
 9
     2023. Ex. M (D.C. Plaintiffs’ 2/24/23 Notice of Dismissal).
10
                                                ARGUMENT
11

12           To survive a motion to dismiss, Plaintiffs must allege facts that state a claim for relief that

13 is “plausible” on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (citing Bell Atlantic

14 Corp. v. Twombly, 550 U.S. 544, 555 (2007)). In evaluating the complaint, the court must “accept

15 as true all factual allegations . . . and construe them in the light most favorable to the

16 plaintiff.” Rojo v. Bright, No. 12-cv-02518-VC, 2014 WL 1794376, at *1 (N.D. Cal. May 6,

17 2014) (Chhabria, J.) (citing Lee v. City of Los Angeles, 250 F.3d 668, 679 (9th Cir.

18 2001)). However, the court is not required to accept as true “mere ‘labels and conclusions[,] . . . a

19 formulaic recitation of the elements of a cause of action[,] . . . or naked assertion[s] devoid of
20 further factual enhancement.’” Id. (quoting Iqbal, 556 U.S. at 678); see also Twombly, 550 U.S. at

21 555. This is particularly true in the context of an antitrust claim, where a mere allegation of

22 “parallel conduct,” “much like a naked assertion of conspiracy,” will be insufficient to overcome a

23 motion to dismiss. Twombly, 550 U.S. at 557-58.              The court also need not accept factual

24 allegations that are contradicted by documents that are incorporated by reference or of which the

25 court can take judicial notice. Alamilla v. Hain Celestial Grp., Inc., 30 F. Supp. 3d 943, 944 (N.D.

26 Cal. 2014) (Chhabria, J.) (quoting Lazy Y Ranch Ltd. v. Behrens, 546 F.3d 50, 588 (9th Cir.

27 2008)).

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 1          A.     Plaintiffs’ Sherman Act Claim is Moot as to Albertsons.

 2          Count II of the Complaint should be dismissed as to Albertsons because it is moot. The
 3 Complaint was filed on February 2, 2023—approximately two weeks after Albertsons’ payment of

 4 the Special Dividend to its shareholders on January 20, 2023. But the only relief in Count II that

 5 Plaintiffs have sought as to Albertsons is an injunction preventing Albertsons from paying the

 6 Special Dividend to certain shareholders. Compl. p. 30.5 Given Albertsons has already paid the

 7 Special Dividend, this Court cannot grant the relief Plaintiffs seek against Albertsons.

 8 Consequently, Count II is moot as to Albertsons and must be dismissed. See, e.g., Am. Rivers v.

 9 Nat’l Marine Fisheries Serv., 126 F.3d 1118, 1123 (9th Cir. 1997) (“If an event occurs that

10 prevents the court from granting effective relief, the claim is moot and must be dismissed.”);

11 Feldman v. Bomar, 518 F.3d 637, 642 (9th Cir. 2008) (“The basic question in determining

12 mootness is whether there is a present controversy as to which effective relief can be granted.”)

13 (quoting Nw. Envt’l Def. Ctr. v. Gordon, 849 F.2d 1241, 1244 (9th Cir. 1988)).

14          The D.C. Circuit reached the same conclusion with respect to a nearly identical claim for
15 relief. See District of Columbia, 2023 WL 2356015, at *1. Like Plaintiffs, the D.C. Plaintiffs

16 sought to enjoin payment of the Special Dividend on the basis that it violated the Sherman Act.

17 Ex. N (Mem. of Law in Support of Mot. for PI). The district court denied the motion on the

18 merits, see District of Columbia, 2022 WL 18911128, and the D.C. Circuit dismissed the appeal as

19 moot because payment of the Special Dividend made it “impossible for [this court] to grant
20 effectual relief to the prevailing party.” District of Columbia, 2023 WL 2356015, at *1 (quoting

21 Planned Parenthood of Wisc., Inc. v. Azar, 942 F.3d 512, 516 (D.C. Cir. 2019) (modifications in

22 original)). Plaintiffs have offered no reason why their claim, brought over three months after the

23

24   5
     The Complaint also seeks “disgorgement” of the Special Dividend, but disgorgement is not a
25 remedy available to private antitrust plaintiffs; nor could it possibly be sought against Albertsons
   given it was the payor of the Special Dividend, not a recipient of it. In re Cathode Ray Tube (Crt)
26 Antitrust Litig., No. C-07-5944 JST, 2016 WL 3648478, at *13 (N.D. Cal. July 7, 2016) (noting
   that the Ninth Circuit “disallows” private plaintiffs from seeking disgorgement); see Hateley v.
27 SEC, 8 F.3d 653, 655 (9th Cir. 1993) (“The purpose of disgorgement is to deprive a person of ill-
   gotten gains and prevent unjust enrichment.” (citations and internal quotation marks omitted)).
28

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 1 Special Dividend was first announced and nearly two weeks after it was paid, warrants a different

 2 result.

 3           B.     Plaintiffs Cannot State a Claim for Relief Under Section 1 of the Sherman Act.

 4           Even if this Court could grant effective relief against Albertsons, Count II of the Complaint
 5 should be dismissed because Plaintiffs have not plausibly alleged that Albertsons’ independent

 6 decision to pay the Special Dividend violates the Sherman Act. The Supreme Court has long

 7 construed Section 1 of the Sherman Act to prohibit only unreasonable restraints of trade. See,

 8 e.g., Ohio v. Am. Express Co., 138 S. Ct. 2274, 2283 (2018). To state a claim under Section 1, a

 9 plaintiff must plausibly allege both (1) “the existence of an agreement,” and (2) that “the

10 agreement was an unreasonable restraint of trade.” Fed. Trade Comm’n v. Qualcomm Inc., 969

11 F.3d 974, 989 (9th Cir. 2020) (quoting Aerotec Int’l, Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171,

12 1178 (9th Cir. 2016)) (citations and internal quotation marks omitted). Count II should be

13 dismissed because Plaintiffs do not (and cannot) plausibly allege either element.

14                  1.      Plaintiffs Do Not Plausibly Allege an Unlawful Agreement.
15           To establish an agreement actionable under Section 1, Plaintiffs must prove that Albertsons
16 “had a conscious commitment to a common scheme designed to achieve an unlawful objective.”

17 Monsanto Co. v. Spray-Rite Serv. Corp., 465 U.S. 752, 764 (1984) (emphasis added).

18 “Independent action is not proscribed,” id. at 761; instead, “[t]here must be evidence that tends to

19 exclude the possibility that [defendants] were acting independently,” id. at 764; see also In re
20 Coordinated Pretrial Proc. in Petroleum Prod. Antitrust Litig., 906 F.2d 432, 438 (9th Cir. 1990)

21 (“[P]laintiff[s] must come forward with sufficiently unambiguous evidence that tends to exclude

22 the possibility that the defendants were acting lawfully.” (cleaned up)). As such, to survive a

23 motion to dismiss, Plaintiffs must allege facts “plausibly suggesting (not merely consistent with) a

24 conspiracy.” Name.Space, Inc. v. Internet Corp. for Assigned Names & Numbers, 795 F.3d 1124,

25 1129 (9th Cir. 2015) (citing Twombly, 550 U.S. at 556 (2007)). Moreover, Plaintiffs must “plead

26 not just ultimate facts (such as a conspiracy), but evidentiary facts.” Kendall v. Visa U.S.A., Inc.,

27 518 F.3d 1042, 1047 (9th Cir. 2008). They must “answer the basic questions: who, did what, to

28 whom (or with whom), where, and when?” Id. at 1048.

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 1          Plaintiffs’ conclusory allegations regarding the purported conspiracy are devoid of any

 2 supporting factual allegations. Plaintiffs boldly assert that “Kroger and Albertsons have agreed”

 3 that Albertsons “will provide” the Special Dividend, but the only facts alleged in the Complaint in

 4 support of the purported “scheme” are that Albertsons and Kroger agreed to merge.6 Compl.

 5 ¶¶ 38, 82, 84. Plaintiffs’ barebones allegations and abject speculation that Kroger and Albertsons

 6 “agreed” that Albertsons would issue the Special Dividend are not sufficient to plausibly allege

 7 that Albertsons’ independent decision to return capital to its shareholders is the product of an

 8 agreement or conspiracy with Kroger. See Name.Space, Inc., 795 F.3d 1129.

 9          To be clear, while the Merger Agreement evidences an agreement to merge, it does not

10 reflect an agreement to issue the Special Dividend.        The Merger Agreement references the

11 possibility of a pre-closing dividend only for the limited purpose of (a) clarifying that Albertsons

12 may issue a pre-closing dividend if it independently chose to do so, and (b) accounting for the

13 impact any such dividend would have on the merger consideration to be paid. See Ex. D at

14 Exhibit 2.1, § 1.1 (definition of “Common Merger Consideration”); id. § 6.1(e). The Merger is

15 neither dependent on, nor driven by, payment of a pre-closing dividend. To the contrary, the

16 Merger Agreement provides that whether or not Albertsons paid a pre-closing dividend, Kroger

17 and Albertsons would be obligated to consummate the Merger.7 The Merger Agreement simply

18 does not “exclude the possibility” that Albertsons unilaterally decided to return $4 billion in

19 capital to its shareholders. Monsanto Co., 465 U.S. at 764.
20          Plaintiffs also fail to sufficiently allege that any agreement was “designed to achieve an

21 unlawful objective.” See id. Merely signing a merger agreement is not an “unlawful objective”

22
   6
     While Plaintiffs allege that “[t]he Defendants Kroger and Albertsons have admitted that, as part
23 of the transaction, Albertsons will pay a cash dividend of up to $4 billion,” Compl. ¶ 83, they do
   not allege where, when, or to whom Defendants made this alleged admission, which is insufficient
24
   to survive a motion to dismiss. See Kendall, 518 F.3d at 1048. Nor do they explain how the
25 alleged admission that Albertsons will pay a cash dividend somehow constitutes an
   anticompetitive agreement with Kroger.
26 7 Consummation of the Merger depends solely on the satisfaction of the conditions to closing
   contained in Article VII of the Merger Agreement. Ex. D at Exhibit 2.1, §§ 7.1-7.3. These
27 conditions to closing are neither dependent on nor related to the Special Dividend, and Plaintiffs
   allege no facts to the contrary.
28

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 1 and cannot, without more, support a Section 1 claim; otherwise every agreement to merge would

 2 result in antitrust liability. Similarly, it is not unlawful for a company to return excess capital to

 3 its shareholders in accordance with applicable state law.8 Nor are any of the other alleged

 4 “unlawful” aims of the conspiracy suggested by Plaintiffs even remotely plausible. Plaintiffs’

 5 conclusory allegation that Kroger and Albertsons conspired to place Albertsons at a financial

 6 disadvantage, see Compl. ¶ 88, is not only contradicted by Albertsons’ financial strength both

 7 before and after payment of the Special Dividend, infra at 11-12, but also defies common sense.

 8 Kroger would not pay in excess of $20 billion for a competitively weakened Albertsons, and

 9 Albertsons would not purposefully sabotage itself given the possibility that the Merger may not

10 close due to regulatory review. And as to Plaintiffs’ allegation that Albertsons and Kroger

11 conspired to lodge a “failing firm” defense, Albertsons and Kroger have publicly committed that

12 they will not. See Ex. G at 35.

13          Every court that has considered similar allegations—including with the benefit of factual

14 declarations, expert reports, and in-person testimony—has found there is no basis to conclude that

15 Albertsons and Kroger entered into an agreement to pay the Special Dividend, much less

16 participated in an unlawful conspiracy to restrain trade through payment of such a dividend. See,

17 e.g., Ex. G at 65-74; Ex. I, ¶ 4; District of Columbia, 2022 WL 18911128. Plaintiffs’ conclusory

18 allegations offer no basis that plausibly suggests otherwise and this Court should dismiss Count II.

19   8
       Albertsons is a Delaware corporation, Ex. A at 1, and its internal affairs—including the payment
     of dividends—are governed by Delaware law. See In re Sagent Tech., Inc., Derivative Litig., 278
20
     F. Supp. 2d 1079, 1086-87 (N.D. Cal. 2003) (applying Delaware law to claims against Delaware
21   corporation pursuant to “internal affairs” doctrine); see also Restatement (Second) of Conflict of
     Laws § 302 cmt. a (noting that “internal affairs” doctrine applies to the “declaration and payment
22   of dividends”); D.G.C.L. § 170 (governing payment of dividends). Despite Plaintiffs’ bald
     assertion that payment of the Special Dividend was “in derogation of Albertsons’ minority
23   shareholders and also in in derogation of the integrity of Albertsons as an ongoing entity,” Compl.
     ¶ 85, Plaintiffs do not allege that the Special Dividend was paid in violation of Delaware law (nor
24
     could they). Moreover, Plaintiffs do not allege that they are Albertsons shareholders and thus
25   have no standing to challenge the business judgment of Albertsons’ Board of Directors. Fed. R.
     Civ. P. 23.1 (to bring a derivative suit, complaint “must[] allege that the plaintiff was a
26   shareholder or member at the time of the transaction complained of”); see In re Google, Inc.
     S’holder Derivative Litig., No. 11-4248 PJH, 2012 WL 1611064 at *7, 10-11 (N.D. Cal. May 8,
27   2012) (applying Delaware law to plaintiffs’ substantive allegations and dismissing plaintiff’s
     complaint for failure to plead ownership as required by Rule 23.1).
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 1                  2.      Plaintiffs Do Not Plausibly Allege An Unreasonable Restraint of Trade.

 2          Count II also fails and is subject to dismissal because Plaintiffs do not plausibly allege an
 3 unreasonable restraint of trade or commerce, evidenced by an adverse impact on competition. See

 4 NCAA v. Bd. of Regents of Univ. of Oklahoma, 468 U.S. 85, 104 (1984) (“[E]ssential inquiry” is

 5 what “impact on competition” the alleged restraint has).           “To determine whether a practice
 6 unreasonably restrains trade” courts typically apply either a “rule of reason” analysis, or in

 7 circumstances not present here, a per se rule of illegality, or a “quick look” analysis. Bhan v.

 8 NME Hosps., Inc., 929 F.2d 1404, 1410 (9th Cir. 1991); see also California ex rel. Harris v.

 9 Safeway, Inc., 651 F.3d 1118, 1132-39 (9th Cir. 2011). The “rule of reason” is the presumptive

10 analysis and applies to this case.9 See Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006). Under this

11 analysis, courts “must analyze the degree of harm to competition along with any justifications or

12 pro-competitive effects to determine whether the practice is unreasonable on balance.” Bhan, 929

13 F.2d at 1410 (internal citation omitted). “The focus is on the actual effects that the challenged

14 restraint has had on competition in a relevant market.” Id. Application of the “rule of reason”

15 analysis plainly reveals that Plaintiffs have not plausibly alleged payment of the Special Dividend

16 will have an adverse impact on “competition in a relevant market.” Id. at 1404, 1414.10

17          First, Plaintiffs have not plausibly alleged a relevant antitrust market.11 As explained in
18 Kroger’s Motion to Dismiss, which Albertsons has joined, Plaintiffs’ alleged geographic markets

19
     9
        Plaintiffs do not allege any conduct subject to per se or “quick look” analysis nor could they.
20
     The Supreme Court has directed that courts “take special care not to deploy these condemnatory
21   tools [the per se rule or the quick look analysis] until we have amassed considerable experience
     with the type of restraint at issue and can predict with confidence that it would be invalidated in all
22   or almost all instances.” NCAA v. Alston, 141 S.Ct. 2141, 2156 (2021) (internal quotation marks
     omitted). Given payment of dividends is a routine business activity there is no basis to conclude
23   Albertsons’ payment of a special dividend is a per se violation or subject to quick look review.
     See R.C. Dick Geothermal Corp. v. Thermogenics, Inc., 890 F.2d 139, 151 (9th Cir. 1989)
24
     (explaining that the per se rule applies “where experience has established that anti-competitive
25   consequences regularly flow from the condemned practice”).
     10
         Plaintiffs’ allegations regarding the alleged anticompetitive effects of the proposed merger are
26   irrelevant to an assessment of Count II and alleged adverse impact of the Special Dividend.
     11
        “In order to state a valid claim under the Sherman Act, a plaintiff must allege that the defendant
27   has market power within a ‘relevant market.’ That is, the plaintiff must allege both that a ‘relevant
     market’ exists and that the defendant has power within that market.’” Newcal Indus., Inc. v. Ikon
28

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 1 are facially implausible (e.g., a nationwide or state- or city-wide geographic market for

 2 supermarkets, see Compl. ¶¶ 42-43, 51). Plaintiffs have not alleged a different relevant market for

 3 their Sherman Act claim, which therefore fails for the same reasons. See, e.g., Hicks v. PGA Tour,

 4 Inc., 897 F.3d 1109, 1121 (9th Cir. 2018) (“[A] complaint may be dismissed if the complaint’s

 5 ‘relevant market’ definition is ‘facially unsustainable.”); Campfield v. State Farm Mut. Auto. Ins.

 6 Co., 532 F.3d 1111, 1118 (10th Cir. 2008) (“Failure to allege a legally sufficient market is cause

 7 for dismissal of the claim.”).

 8          Second, Plaintiffs have not plausibly alleged that payment of the Special Dividend will

 9 have an adverse impact on competition. To prove harm to competition, Plaintiffs must offer

10 “direct” evidence of actual competitive harm or “indirect” evidence: “proof of market power plus

11 some evidence that the challenged restraint harms competition.” Am. Express, 138 S. Ct. at 2284.

12 Plaintiffs appear to allege two speculative theories of competitive harm: (1) Albertsons’ allegedly

13 reduced cash flow and increased debt from paying the Special Dividend will impede its ability to

14 compete, Compl. ¶¶ 15, 39, 66; and (2) payment of the Special Dividend will enable Albertsons

15 and Kroger to make a “failing firm” defense, id. ¶¶ 84, 87. Neither theory provides a plausible

16 basis for Plaintiffs’ claims and both are contradicted by documents subject to judicial notice.

17          The mere fact that Albertsons will have less cash on hand and more debt than it otherwise

18 would absent payment of the Special Dividend does not by itself suggest “harm” to competition.

19 If that were so, any expenditure, and any dividend payment, would “harm” competition.
20 Moreover, the alleged consequences Plaintiffs allege might result from Albertsons’ payment of the

21 Special Dividend and purported financial challenges (e.g., Albertsons “will be less able to offer

22 promotions” and “may have to close stores,” id. ¶¶ 39, 66) are not facts, but rather hyperbolic and

23 baseless suppositions. Such speculative allegations are not sufficient to support a Section 1 claim,

24 particularly where they are flatly contradicted by public documents that the Court may take

25
   Office Sols., 513 F.3d 1038, 1044 (9th Cir. 2008). A relevant market “encompasses notions of
26 geography as well as product use, quality, and description . . . [it] extends to the area of effective
   competition where buyers can turn for alternative sources of supply. The product market includes
27 the pool of goods or services that enjoy reasonable interchangeability of use and cross-elasticity of
   demand.” Tanaka v. Univ. of S. California, 252 F.3d 1059, 1063 (9th Cir. 2001) (cleaned up).
28

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 1 judicial notice of. See, e.g., Hadley v. Kellogg Sales Co., 243 F. Supp. 3d 1074, 1085 (N.D. Cal.

 2 2017) (noting court may “look beyond the plaintiffs’ complaint to matters of public record” and

 3 consider “judicially noticeable facts” on motion to dismiss). Indeed, contemporaneous with its

 4 declaration of the Special Dividend, on October 19, 2022, Albertsons reported in a public SEC

 5 filing that its cash flows were more than sufficient to meet its projected liquidity needs even after

 6 payment of the Special Dividend. Ex. O at 31-32 (ACI 10/19/22 10-Q). As noted above, multiple

 7 courts assessed similar allegations that paying the Special Dividend would somehow harm

 8 Albertsons and concluded—with the benefit of significant evidence—that Albertsons had adequate

 9 cash flows and liquidity and would not be harmed by or unable to compete as a result of payment

10 of the Special Dividend. See Ex. G at 65-74; Ex. H; Ex. I; Ex. K; District of Columbia, 2022 WL

11 18911128; District of Columbia, 2022 WL 18910855. And Albertsons’ most recent SEC filing on

12 April 11, 2023 confirms Albertsons’ strong financial performance for fiscal year 2022—including

13 record Adjusted EBITDA of over $4.67 billion—and continued financial strength notwithstanding

14 Albertsons’ payment of the nearly $4 billion Special Dividend on January 20, 2023. Ex. B at 3.

15 Plaintiffs’ conclusory assertion that payment of the Special Dividend has or will impede

16 Albertsons’ ability to effectively compete in the highly competitive markets in which it operates is

17 utterly implausible in light of this backdrop.

18          Plaintiffs likewise cannot plausibly allege that competition would somehow be harmed by

19 Defendants’ invocation of a “failing firm” defense as result of the Special Dividend payment. For
20 one, Albertsons is far from a “failing firm” for the reasons described above; indeed, Albertsons is

21 a thriving firm (as Plaintiffs themselves recognize, Compl. ¶ 73). Moreover, Plaintiffs’ allegation

22 that Defendants will invoke a “failing firm” defense assertion is belied by Albertsons’ repeated

23 public commitments that it will not do so. See Ex. G at 35.

24          In sum, Plaintiffs offer no plausible allegation that Albertsons’ payment of the Special

25 Dividend will harm competition in any relevant market and rely on nothing but conclusory

26 allegations that are easily contradicted by public information subject to judicial notice. Plaintiffs’

27 complete failure to plausibly allege any harm to competition as a result of payment of the Special

28 Dividend is fatal to their Sherman Act claim and requires dismissal with prejudice.

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 1                                         CONCLUSION

 2        For the foregoing reasons, Count II of the Complaint should be dismissed with prejudice.
 3

 4 Dated: April 12, 2023                       Respectfully submitted,

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 1                                  CERTIFICATE OF SERVICE

 2         The undersigned certifies that on April 12, 2023, the foregoing document was filed with

 3 the Clerk of the U.S. District Court for the Northern District of California, using the court’s

 4 electronic filing system (ECF), in compliance with Civil L.R. 5-1. The ECF system serves a

 5 “Notice of Electronic Filing” to all parties and counsel who have appeared in this action, who have

 6 consented under Civil L.R. 5-1 to accept that Notice as service of this document.

 7

 8
     Dated: April 12, 2023
 9

10                                               /s/ Edward D. Hassi
                                                 Edward D. Hassi (pro hac vice)
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